                                              Case 18-23912                           Doc 12         Filed 10/25/18              Page 1 of 15
 Fill in this information to identify your case and this filing:

 Debtor 1                    Judith Marion Justus
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    David L. Justus
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF MARYLAND

 Case number            18-23912                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        Wilderness Camping Resort                                                      Single-family home                          Do not deduct secured claims or exemptions. Put
        Timeshare                                                                      Duplex or multi-unit building               the amount of any secured claims on Schedule D:
        9220 Plank Road                                                                                                            Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
        Street address, if available, or other description

                                                                                       Manufactured or mobile home
                                                                                                                                   Current value of the      Current value of the
        Spotsylvania                      VA        22553-0000                         Land                                        entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                                   $2,500.00                   $2,500.00
                                                                                       Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                       Other                                       (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one     a life estate), if known.
                                                                                       Debtor 1 only                               Fee simple
        Spotsylvania                                                                   Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                    page 1
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       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       37459 Oliver Drive                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Selbyville                        DE        19975-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $305,500.00                     $305,500.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Sussex                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       905 Echo Bay Court                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Gambrills                         MD        21054-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $600,000.00                     $600,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Anne Arundel                                                           Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       value used on appraisal by lender 08/24/2018 less closing costs of 9-10%
                                                                       for real estate commissions, transfer and recordation taxes, and closing
                                                                       cost credit of approximately $53,000.00. there is unexempt equity of
                                                                       approximately $5,500.00


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $908,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                      Schedule A/B: Property                                                                               page 2
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 Debtor 2        David L. Justus                                                                                    Case number (if known)       18-23912

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Mazda                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      6                                               Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2010                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
         Approximate mileage:                126,000                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $1,764.00                  $1,764.00
                                                                     (see instructions)



  3.2    Make:       Kia                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Sportage                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
         Approximate mileage:                  45,000                Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                              $10,881.00                 $10,881.00
                                                                     (see instructions)



  3.3    Make:       Mazda                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      3                                               Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2012                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
         Approximate mileage:                115,000                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $2,515.00                  $2,515.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $15,160.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 3
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 Debtor 2       David L. Justus                                                                     Case number (if known)     18-23912


                                    2 space heaters, 4 bedspreads/blankets, 3 curtains, 2 drapes, 8
                                    pillows, 3 sets of sheets, 4 throw rugs, 20 towels, queen size bed,
                                    china cabinet, 2 coffee tables, desk, dining room set, 2 dressers, 2
                                    end tables, 2 lamps, pots, pans, utensils, cups, plates, microwave,
                                    toaster, blender, 2 sofas, kitchen utensils, vaccum cleaner,                                                 $3,900.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    stereo, radio, 3 DVD players, 4 televisions, desktop computer,
                                    printer/fax/scanner, cell phone                                                                                $850.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    old bicycles                                                                                                   $100.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    4 jackets, coat, 6 pairs of shorts, pajamas, 30 shirts, 10 pairs of
                                    shoes, 15 pairs of slacks, 2 suits, 6 sweaters, 2 swim trunks,
                                    undergarments, socks, 4 pairs of jeans, belts, gloves, scarves,
                                    prescription glasses                                                                                           $195.00


                                    3 bathing suits, 2 bathrobes, 100 blouses, undergarments, 10
                                    coats, 5 dresses, 4 evening dresses, 5 pairs of jeans, 5 leggings,
                                    20 handbags, 2 hats, 8 jackets, nightgowns, 5 suits, 60 pairs of
                                    shoes, 15 pairs of slacks, slips, socks, 2 sweatsuits, 10 sweaters,
                                    scarves, belts, gloves, prescription glasses                                                                   $210.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....




Official Form 106A/B                                                 Schedule A/B: Property                                                            page 4
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 Debtor 1          Judith Marion Justus
 Debtor 2          David L. Justus                                                                                                 Case number (if known)   18-23912


                                            wedding rings, gold necklace, wedding band, earrings, gold
                                            bracelet, women's watch, misc. costume jewelry.                                                                                 $2,500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            2 dogs                                                                                                                            $100.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                 $7,855.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                SunTrust Acct.                                                              $950.00


                                                                                                  Tower FCU Acct.
                                              17.2.                                               Acct. No. 177                                                               $695.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                  % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:


Official Form 106A/B                                                                       Schedule A/B: Property                                                                 page 5
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 Debtor 1         Judith Marion Justus
 Debtor 2         David L. Justus                                                                             Case number (if known)      18-23912

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          IRA                               American Funds Roth IRa                                                       $6,206.95


                                          IRS                               Security Benefit IRA                                                      $101,033.27


                                          IRA                               American Equity IRA                                                         $96,416.97


                                          Roth IRA                          American Funds                                                                $1,459.29


                                          IRA                               Allianz Roth IRA                                                              $4,188.72


                                          IRA                               Horter IRA                                                                  $54,673.12


                                          IRA                               Allianz IRA                                                               $178,670.90


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.




Official Form 106A/B                                                   Schedule A/B: Property                                                                   page 6
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 Debtor 2        David L. Justus                                                                                                 Case number (if known)        18-23912

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             employer provided term life                                                                                                              $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $444,294.22


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.

Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 7
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 Debtor 1         Judith Marion Justus
 Debtor 2         David L. Justus                                                                                                       Case number (if known)   18-23912

           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $908,000.00
 56. Part 2: Total vehicles, line 5                                                                          $15,160.00
 57. Part 3: Total personal and household items, line 15                                                      $7,855.00
 58. Part 4: Total financial assets, line 36                                                                $444,294.22
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $467,309.22               Copy personal property total            $467,309.22

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,375,309.22




Official Form 106A/B                                                               Schedule A/B: Property                                                                              page 8
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                                        Case 18-23912                     Doc 12      Filed 10/25/18             Page 9 of 15
 Fill in this information to identify your case:

 Debtor 1                 Judith Marion Justus
                          First Name                        Middle Name                 Last Name

 Debtor 2                 David L. Justus
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number           18-23912
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      905 Echo Bay Court Gambrills, MD                               $600,000.00                               $23,675.00      Md. Code Ann., Cts. & Jud.
      21054 Anne Arundel County                                                                                                Proc. § 11-504(f)(1)(i)(2)
      value used on appraisal by lender                                                    100% of fair market value, up to
      08/24/2018 less closing costs of                                                     any applicable statutory limit
      9-10% for real estate commissions,
      transfer and recordation taxes, and
      closing cost credit of approximately
      $53,000.00. there i
      Line from Schedule A/B: 1.3

      2010 Mazda 6 126,000 miles                                       $1,764.00                                 $1,764.00     Md. Code Ann., Cts. & Jud.
      Line from Schedule A/B: 3.1                                                                                              Proc. § 11-504(b)(5)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2015 Kia Sportage 45,000 miles                                  $10,881.00                                 $3,722.00     Md. Code Ann., Cts. & Jud.
      Line from Schedule A/B: 3.2                                                                                              Proc. § 11-504(b)(5)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2012 Mazda 3 115,000 miles                                       $2,515.00                                   $379.00     Md. Code Ann., Cts. & Jud.
      Line from Schedule A/B: 3.3                                                                                              Proc. § 11-504(b)(5)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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 Debtor 2    David L. Justus                                                                             Case number (if known)     18-23912
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2 space heaters, 4                                               $3,900.00                                    $685.00        Md. Code Ann., Cts. & Jud.
     bedspreads/blankets, 3 curtains, 2                                                                                           Proc. § 11-504(b)(4)
     drapes, 8 pillows, 3 sets of sheets, 4                                                100% of fair market value, up to
     throw rugs, 20 towels, queen size                                                     any applicable statutory limit
     bed, china cabinet, 2 coffee tables,
     desk, dining room set, 2 dressers, 2
     end tables, 2 lamps, pots, pans,
     utensils, cups, plates
     Line from Schedule A/B: 6.1

     2 space heaters, 4                                               $3,900.00                                  $3,215.00        Md. Code Ann., Cts. & Jud.
     bedspreads/blankets, 3 curtains, 2                                                                                           Proc. § 11-504(b)(5)
     drapes, 8 pillows, 3 sets of sheets, 4                                                100% of fair market value, up to
     throw rugs, 20 towels, queen size                                                     any applicable statutory limit
     bed, china cabinet, 2 coffee tables,
     desk, dining room set, 2 dressers, 2
     end tables, 2 lamps, pots, pans,
     utensils, cups, plates
     Line from Schedule A/B: 6.1

     stereo, radio, 3 DVD players, 4                                     $850.00                                   $510.00        Md. Code Ann., Cts. & Jud.
     televisions, desktop computer,                                                                                               Proc. § 11-504(b)(4)
     printer/fax/scanner, cell phone                                                       100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                           any applicable statutory limit

     stereo, radio, 3 DVD players, 4                                     $850.00                                   $340.00        Md. Code Ann., Cts. & Jud.
     televisions, desktop computer,                                                                                               Proc. § 11-504(b)(5)
     printer/fax/scanner, cell phone                                                       100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                           any applicable statutory limit

     old bicycles                                                        $100.00                                   $100.00        Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 9.1                                                                                                  Proc. § 11-504(b)(5)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     4 jackets, coat, 6 pairs of shorts,                                 $195.00                                   $195.00        Md. Code Ann., Cts. & Jud.
     pajamas, 30 shirts, 10 pairs of shoes,                                                                                       Proc. § 11-504(b)(4)
     15 pairs of slacks, 2 suits, 6                                                        100% of fair market value, up to
     sweaters, 2 swim trunks,                                                              any applicable statutory limit
     undergarments, socks, 4 pairs of
     jeans, belts, gloves, scarves,
     prescription glasses
     Line from Schedule A/B: 11.1

     3 bathing suits, 2 bathrobes, 100                                   $210.00                                   $210.00        Md. Code Ann., Cts. & Jud.
     blouses, undergarments, 10 coats, 5                                                                                          Proc. § 11-504(b)(4)
     dresses, 4 evening dresses, 5 pairs                                                   100% of fair market value, up to
     of jeans, 5 leggings, 20 handbags, 2                                                  any applicable statutory limit
     hats, 8 jackets, nightgowns, 5 suits,
     60 pairs of shoes, 15 pairs of slacks,
     slips, socks, 2 sweatsuits, 10 sweat
     Line from Schedule A/B: 11.2

     wedding rings, gold necklace,                                    $2,500.00                                    $850.00        Md. Code Ann., Cts. & Jud.
     wedding band, earrings, gold                                                                                                 Proc. § 11-504(b)(5)
     bracelet, women's watch, misc.                                                        100% of fair market value, up to
     costume jewelry.                                                                      any applicable statutory limit
     Line from Schedule A/B: 12.1


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                                       Case 18-23912                   Doc 12         Filed 10/25/18            Page 11 of 15
 Debtor 1    Judith Marion Justus
 Debtor 2    David L. Justus                                                                             Case number (if known)     18-23912
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     wedding rings, gold necklace,                                     $2,500.00                                 $1,650.00        Md. Code Ann., Cts. & Jud.
     wedding band, earrings, gold                                                                                                 Proc. § 11-504(f)(1)(i)(1)
     bracelet, women's watch, misc.                                                        100% of fair market value, up to
     costume jewelry.                                                                      any applicable statutory limit
     Line from Schedule A/B: 12.1

     Checking: SunTrust Acct.                                            $950.00                                   $950.00        Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 17.1                                                                                                 Proc. § 11-504(f)(1)(i)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Tower FCU Acct.                                                     $695.00                                   $695.00        Md. Code Ann., Cts. & Jud.
     Acct. No. 177                                                                                                                Proc. § 11-504(b)(5)
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: American Funds Roth IRa                                      $6,206.95                                 $6,206.95        Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 21.1                                                                                                 Proc. § 11-504(h)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRS: Security Benefit IRA                                       $101,033.27                              $101,033.27         Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 21.2                                                                                                 Proc. § 11-504(h)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: American Equity IRA                                         $96,416.97                               $96,416.97         Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 21.3                                                                                                 Proc. § 11-504(h)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Roth IRA: American Funds                                          $1,459.29                                 $1,459.29        Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 21.4                                                                                                 Proc. § 11-504(h)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: Allianz Roth IRA                                             $4,188.72                                 $4,188.72        Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 21.5                                                                                                 Proc. § 11-504(h)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: Horter IRA                                                  $54,673.12                               $54,673.12         Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 21.6                                                                                                 Proc. § 11-504(h)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: Allianz IRA                                                $178,670.90                              $178,670.90         Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 21.7                                                                                                 Proc. § 11-504(h)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes

Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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                                          Case 18-23912                   Doc 12            Filed 10/25/18          Page 12 of 15
 Fill in this information to identify your case:

 Debtor 1                   Judith Marion Justus
                            First Name                      Middle Name                       Last Name

 Debtor 2                   David L. Justus
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number           18-23912
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Chase Auto Finance                       Describe the property that secures the claim:                   $2,136.00                $2,515.00                    $0.00
         Creditor's Name                          2012 Mazda 3 115,000 miles

         Attn: Bankruptcy
                                                  As of the date you file, the claim is: Check all that
         Po Box 901076                            apply.
         Fort Worth, TX 76101                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

                                 Opened
                                 01/13 Last
                                 Active
 Date debt was incurred          7/16/18                   Last 4 digits of account number        0104


 2.2     Chase Home Mortgage                      Describe the property that secures the claim:               $479,850.00               $600,000.00                     $0.00
         Creditor's Name                          905 Echo Bay Court Gambrills, MD
                                                  21054 Anne Arundel County
                                                  value used on appraisal by lender
                                                  08/24/2018 less closing costs of
                                                  9-10% for real estate commissions,
                                                  transfer and recordation taxes, and
                                                  closing cost credit of approximately
                                                  $53
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 78420                           apply.
         Phoenix, AZ 86062                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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                                          Case 18-23912                    Doc 12              Filed 10/25/18            Page 13 of 15

 Debtor 1 Judith Marion Justus                                                                                Case number (if known)   18-23912
               First Name                  Middle Name                      Last Name
 Debtor 2 David L. Justus
               First Name                  Middle Name                      Last Name



    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3     Mr. Cooper                                 Describe the property that secures the claim:                   $349,239.00         $305,500.00     $43,739.00
         Creditor's Name                            37459 Oliver Drive Selbyville, DE
         Attn: Bankruptcy                           19975 Sussex County
         8950 Cypress Waters
                                                    As of the date you file, the claim is: Check all that
         Blvd                                       apply.
         Coppell, TX 75019                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 03/07 Last
                                 Active
 Date debt was incurred          7/27/18                     Last 4 digits of account number         5826


 2.4     Suntrust Bank                              Describe the property that secures the claim:                    $37,375.00         $600,000.00             $0.00
         Creditor's Name                            905 Echo Bay Court Gambrills, MD
                                                    21054 Anne Arundel County
                                                    value used on appraisal by lender
                                                    08/24/2018 less closing costs of
                                                    9-10% for real estate commissions,
                                                    transfer and recordation taxes, and
         Attn: Bankruptcy                           closing cost credit of approximately
         1001 Semmes Ave                            $53
                                                    As of the date you file, the claim is: Check all that
         Va-Rvw-6290                                apply.
         Richmond, VA 23224                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 03/04 Last
                                 Active
 Date debt was incurred          6/24/18                     Last 4 digits of account number         3929



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
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 Debtor 1 Judith Marion Justus                                                                                Case number (if known)   18-23912
               First Name                  Middle Name                      Last Name
 Debtor 2 David L. Justus
               First Name                  Middle Name                      Last Name


 2.5     Tower Federal CU                           Describe the property that secures the claim:                      $7,159.00          $10,881.00             $0.00
         Creditor's Name                            2015 Kia Sportage 45,000 miles
         Attn: Bankruptcy
         Po Box 123
                                                    As of the date you file, the claim is: Check all that
         Annapolis Junction, MD                     apply.
         20701                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 03/15 Last
                                 Active
 Date debt was incurred          8/09/18                     Last 4 digits of account number         7710


         Wilderness Presidential
 2.6                                                                                                                   Unknown             $2,500.00       Unknown
         Resort                                     Describe the property that secures the claim:
         Creditor's Name                            Wilderness Camping Resort
                                                    Timeshare 9220 Plank Road
                                                    Spotsylvania, VA 22553
                                                    Spotsylvania County
                                                    As of the date you file, the claim is: Check all that
         9220 Plank Road                            apply.
         Spotsylvania, VA 22553                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $875,759.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $875,759.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 3
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                                          Case 18-23912                   Doc 12   Filed 10/25/18         Page 15 of 15




 Fill in this information to identify your case:

 Debtor 1                    Judith Marion Justus
                             First Name                     Middle Name              Last Name

 Debtor 2                    David L. Justus
 (Spouse if, filing)         First Name                     Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number              18-23912
 (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                              Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                 Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Judith Marion Justus                                                   X   /s/ David L. Justus
              Judith Marion Justus                                                       David L. Justus
              Signature of Debtor 1                                                      Signature of Debtor 2

              Date       October 25, 2018                                                Date    October 25, 2018




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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